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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


T-Rex Property AB,                                       Civil No. 16-2018 (DWF/BRT)

                     Plaintiff,
                                                           ORDER FOR DISMISSAL
v.                                                             WITH PREJUDICE

Cedar Fair, L.P.,

                     Defendant.


       Based on the parties’ Stipulation to Dismiss With Prejudice filed on December 29,

2017, (Doc. No. [74]),

       IT IS HEREBY ORDERED that all claims and counterclaims asserted in the

above-captioned matter between Plaintiff, T-Rex Property AB and Defendant, Cedar

Fair, L.P. are DISMISSED WITH PREJUDICE, with each party to bear its own costs,

expenses and attorney fees.

Dated: January 2, 2018                  s/Donovan W. Frank
                                        DONOVAN W. FRANK
                                        United States District Judge
